     Case 3:19-cv-02302-MDD Document 22 Filed 08/03/20 PageID.1607 Page 1 of 1



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7                       UNITED STATES DISTRICT COURT
8                     SOUTHERN DISTRICT OF CALIFORNIA
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10   REGINALD ARMSTEAD,                       Case No.: 19cv2302-MDD
11                               Plaintiff,
                                              ORDER RE: STIPULATION OF
12   v.                                       DISMISSAL WITH PREJUDICE
13   ANDREW SAUL, Commissioner of
     Social Security,                         (ECF No. 20)
14
                              Defendant.
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16        On July 29, 2020, the parties jointly filed a stipulation of dismissal of
17   the above captioned action with prejudice pursuant to Federal Rule of Civil
18   Procedure 41(a)(1)(A)(ii). Accordingly, this case is DISMISSED WITH
19   PREJUDICE. Each party must bear its own attorneys’ fees and costs. The
20   Clerk of Court is ORDERED to close this case and terminate any pending
21   motions.
22        IT IS SO ORDERED.
23   Dated: August 3, 2020
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